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                            Exhibit 26
                  Declaration of Eden Shemuelian
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  From: Associate Vice Chancellor for Campus Safety Rick Braziel <                                             >
  Date: Fri, May 24, 2024 at 10:01 AM
  Subject: Updates on Campus Safety and Recent Demonstrations
  To: <                                >
  Dear Bruin Community:

  I am writing with an update on efforts to protect the safety and well-being of our community, as well as
  our ability to foster an environment in which students, faculty and staff can learn, live and work
  peacefully.

  Yesterday morning UCPD detectives, with the assistance of local agencies, made their first arrest in the
  ongoing investigation into the April 30 assaults that occurred on our campus. UCPD is committed to
  investigating all reported acts of violence and is actively working to identify the other perpetrators of
  violence associated with protest activities. As Chancellor Block has shared, those who inflicted
  violence on our community will be held accountable to the fullest extent of the law.

  I also would like to provide an update about recent demonstrations on campus.

  Yesterday, shortly before 7 a.m., demonstrators arrived on the Kerckhoff patio and began to erect
  barricades, blocking access to the area and nearby buildings and disrupting regular campus operations.
  Our Office of the Administrative Vice Chancellor, in partnership with my Office of Campus Safety, asked
  them to disperse immediately. Demonstrators were informed that if they did not disperse, they would
  face arrest and possible disciplinary action, as well as an order to stay away from campus for seven
  days. Demonstrators willingly dispersed, and no arrests were made.

  Later, demonstrators arrived at Dodd Hall, barricaded access to the building and committed acts of
  vandalism. The group was ordered to disperse and, while some demonstrators left, ultimately UCPD
  cleared the building.

  For future updates on campus disruptions, please refer to Bruins Safe Online.

  UCLA is firmly committed to protecting the free expression rights of everyone in our community,
  regardless of their views, as long as they follow guidelines for the appropriate time, place and manner of
  campus demonstrations (PDF). These are designed to provide opportunities to gather and demonstrate
  in ways that do not violate the law, UCLA policy and other community members’ rights. They support
  advocacy that does not jeopardize safety or disrupt the functioning of the university.

  We will continue to prioritize protecting UCLA faculty, staff and students and creating an environment
  conducive to teaching, learning, working and living. The campus community belongs to all of us. Let us
  respect one another’s rights as surely as we want our own rights to be respected.

  Sincerely,

  Rick Braziel

  Associate Vice Chancellor for Campus Safety

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                        SHEMUELIAN DECLARATION EXHIBIT 26
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